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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case Number 09-20023-BC
                                                             Honorable Thomas L. Ludington
v.

D-4 ASHLEY REBECCA ALLEN,

                  Defendant.
_______________________________________/


        ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
     DEFENDANT’S PLEA OF GUILTY AS TO THE CONSPIRACY COUNT OF THE
      SECOND SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA
                    AGREEMENT UNDER ADVISEMENT

       A plea hearing was conducted on September 15, 2009, by United States Magistrate Judge

Charles E. Binder pursuant to the defendant’s consent. The magistrate judge issued his report on

September 16, 2009, recommending that this Court accept the defendant’s plea of guilty. As of

today’s date, no party has filed any objections to the magistrate judge’s report and recommendation.

The failure to file objections to the report and recommendation waives any further right to appeal.

Smith v. Detroit Fed’n of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). Likewise, the

failure to object to the magistrate judge’s report releases the Court from its duty to independently

review the record. Thomas v. Arn, 474 U.S. 140, 149 (1985). However, the Court agrees with the

findings and conclusions of the magistrate judge.

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 109] is ADOPTED.
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      It is further ORDERED that the defendant’s plea of guilty as to the conspiracy count of the

second superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 108] is

taken UNDER ADVISEMENT.

                                                      s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge
Dated: November 4, 2009


                                               PROOF OF SERVICE

                       The undersigned certifies that a copy of the foregoing order was served
                       upon each attorney or party of record herein by electronic means or first
                       class U.S. mail on November 4, 2009.

                                                         s/Tracy A. Jacobs
                                                         TRACY A. JACOBS




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